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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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11   CHANSUE KANG, an individual, and        Case No.: 5:19-cv-02252 PA (SPx)
     on behalf of other members of the
12   general public similarly situated;      [Hon. Percy Anderson; Courtroom 9A]
13               Plaintiff,                  ORDER GRANTING REQUEST
                                             FOR VOLUNTARY DISMISSAL
14         vs.                               OF ACTION
15   P.F. CHANG’S CHINA BISTRO, INC.         Date Filed: October 23, 2019
     an Arizona corporation; and DOES        Date Removed: November 25, 2019
16   1-100, inclusive                        Trial Date: None Set
17               Defendants.
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          ORDER GRANTING REQUEST FOR VOLUNTARY DISMISSAL OF ACTION
     Case 5:19-cv-02252-PA-SP Document 41 Filed 07/21/21 Page 2 of 2 Page ID #:655




 1                                        ORDER
 2         This matter came before the Court on the Stipulation of Dismissal With
 3   Prejudice filed by Plaintiff, Chansue Kang, and Defendant, P.F. Chang’s China
 4   Bistro, Inc. The Court, having reviewed the Stipulation and finding good cause,
 5
     now finds that it should be GRANTED.
 6
           IT IS THEREFORE ORDERED that all claims in this case are dismissed,
 7
           with prejudice, with each side to bear its own costs and attorneys fees.
 8
           IT IS SO ORDERED.
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     Dated: _________________
             July 21, 2021                 ___________________________________
11                                         Hon. Percy Anderson
12
                                           United States District Court Judge

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          ORDER GRANTING REQUEST FOR VOLUNTARY DISMISSAL OF ACTION
